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7
8                 IN THE UNITED STATES DISTRICT COURT FOR THE
9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )
                                       )    CR. S-08-0392-GEB
12             Plaintiff,              )
                                       )   STIPULATION AND [PROPOSED] ORDER
13                                     )   CONTINUING STATUS CONFERENCE AND
          v.                           )   EXCLUDING TIME
14                                     )
     KEOOUDONE PHAOUTHOUM, and         )
15   JUAN MADRIGAL RIZO,               )
                                       )
16                                     )
               Defendants.             )    Hon. Garland E. Burrell
17                                     )
18
19        The parties request that the status conference currently set
20   for April 2, 2010, be continued to July 16, 2010, and stipulate
21   that the time beginning April 2, 2010, and extending through July
22   16, 2010, should be excluded from the calculation of time under
23   the Speedy Trial Act.    The parties submit that the ends of
24   justice are served by the Court excluding such time, so that
25   counsel for each defendant may have reasonable time necessary for
26   effective preparation, taking into account the exercise of due
27   diligence.    18 U.S.C. § 3161(h)(7)(B)(iv); Local Code T4.
28        The parties need additional time for preparation.

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1    Therefore, the parties have agreed and respectfully request that
2    the Court set the date of July 16, 2010, for the status
3    conference.
4          The parties stipulate and agree that the interests of
5    justice served by granting this continuance outweigh the best
6    interests of the public and the defendants in a speedy trial.
7    18 U.S.C. § 3161(h)(7)(A).
8                                            Respectfully Submitted,
9                                            BENJAMIN B. WAGNER
                                             United States Attorney
10
11   Dated: March 31, 2010               By:/s/ Michael M. Beckwith
                                            MICHAEL M. BECKWITH
12                                          Assistant U.S. Attorney
13
     Dated: March 31, 2010               By:/s/ Joseph Wiseman
14                                          JOSEPH WISEMAN
                                            Attorney for defendant
15                                          KEOOUDONE PHAOUTHOUM
16   Dated: March 31, 2010               By:/s/ Gilbert A. Roque
                                            GILBERT A. ROQUE
17                                          Attorney for defendant
                                            JUAN MADRIGAL RIZO
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1                                         ORDER
2         For the reasons stated above, the status conference for
3    defendants, Keoudone Phaouthoum and Juan Madrigal, in case number
4    CR. S-08-0392-GEB, currently set for April 2, 2010, is continued
5    to July 16, 2010; and the time beginning April 2, 2010, and
6    extending through July 16, 2010, is excluded from the calculation
7    of time under the Speedy Trial Act for effective defense
8    preparation.      The Court finds that interests of justice served by
9    granting this continuance outweigh the best interests of the
10   public and the defendants in a speedy trial.           18 U.S.C. §
11   3161(h)(7)(A) and (B)(iv).
12
13   IT IS SO ORDERED.
14   Dated:     March 31, 2010
15
16                                     GARLAND E. BURRELL, JR.
17                                     United States District Judge

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